Case 8:22-cv-00099-DOC-DFM Document 339 Filed 05/09/22 Page 1 of 21 Page ID #:4837


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 9 Counsel for the Congressional Defendants
10
11
                              UNITED STATES DISTRICT COURT

12                          CENTRAL DISTRICT OF CALIFORNIA
13                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
15
                     Plaintiff,                  NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                   Defendants.
20
21
             Pursuant to the Court’s minute order on May 8, 2022, the Defendant Select
22
     Committee to Investigate the January 6th Attack on the United States Capitol hereby
23
     provides a list of beginning Bates numbers for the 721 documents for which it is
24
     requesting this Court’s in camera review (see Dkt. 336). Earlier today, the Select
25
     Committee provided counsel for Plaintiff with a spreadsheet containing these Bates
26
     numbers.
27
28
                                             NOTICE
                                               1
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 1   Bates numbers:

 2   Chapman003226
 3   Chapman003228
     Chapman003248
 4   Chapman003250
 5   Chapman003268
     Chapman003269
 6   Chapman003270
 7   Chapman003271
     Chapman006672
 8   Chapman006673
 9   Chapman006853
     Chapman006854
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11   Chapman006856
     Chapman006857
12   Chapman006941
13   Chapman006942
     Chapman006943
14   Chapman006965
15   Chapman007100
     Chapman007101
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     Chapman007106
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     Chapman007254
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     Chapman007320
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     Chapman007402
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     Chapman007403
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     Chapman007416
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     Chapman007652
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27   Chapman007734
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     Chapman007776
     Chapman007782
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 1   Chapman007799
     Chapman008549
 2   Chapman008557
 3   Chapman008565
     Chapman008566
 4   Chapman008567
 5   Chapman008739
     Chapman008742
 6   Chapman009106
 7   Chapman010041
     Chapman011779
 8   Chapman015393
 9   Chapman015584
     Chapman015636
10   Chapman015944
11   Chapman015960
     Chapman015965
12   Chapman015966
13   Chapman015968
     Chapman015980
14   Chapman015982
15   Chapman016022
     Chapman016181
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     Chapman016182
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     Chapman016194
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     Chapman016285
19   Chapman016301
     Chapman016334
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     Chapman016349
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     Chapman016354
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     Chapman016458
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     Chapman016561
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     Chapman016893
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     Chapman016894
27   Chapman016895
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     Chapman016901
     Chapman017124
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 1   Chapman017197
     Chapman017247
 2   Chapman017257
 3   Chapman017416
     Chapman018110
 4   Chapman018270
 5   Chapman018361
     Chapman018406
 6   Chapman018548
 7   Chapman018550
     Chapman018552
 8   Chapman018554
 9   Chapman018592
     Chapman018593
10   Chapman018684
11   Chapman018793
     Chapman018796
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13   Chapman018813
     Chapman018814
14   Chapman018821
15   Chapman018822
     Chapman018858
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     Chapman018863
17   Chapman018865
     Chapman018875
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     Chapman018887
19   Chapman018897
     Chapman018901
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     Chapman018902
21   Chapman018919
     Chapman018920
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     Chapman018956
23   Chapman018971
     Chapman018974
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     Chapman019169
25   Chapman019182
     Chapman019185
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     Chapman019212
27   Chapman019276
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     Chapman019284
     Chapman019686
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 1   Chapman019880
     Chapman019888
 2   Chapman019889
 3   Chapman020142
     Chapman020163
 4   Chapman020804
 5   Chapman020807
     Chapman020826
 6   Chapman021094
 7   Chapman021105
     Chapman021106
 8   Chapman021111
 9   Chapman021112
     Chapman021113
10   Chapman021115
11   Chapman021116
     Chapman021117
12   Chapman021119
13   Chapman021120
     Chapman021122
14   Chapman021124
15   Chapman021126
     Chapman021190
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     Chapman021193
17   Chapman021242
     Chapman021243
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     Chapman021245
19   Chapman021253
     Chapman021298
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     Chapman021301
21   Chapman021363
     Chapman021429
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     Chapman021430
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     Chapman021716
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     Chapman021760
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     Chapman021814
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     Chapman021854
27   Chapman022679
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     Chapman022779
     Chapman022780
                                       NOTICE
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 1   Chapman022912
     Chapman023038
 2   Chapman023042
 3   Chapman023047
     Chapman023048
 4   Chapman023049
 5   Chapman023052
     Chapman023056
 6   Chapman023060
 7   Chapman023061
     Chapman023101
 8   Chapman023107
 9   Chapman023110
     Chapman023113
10   Chapman023156
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     Chapman023233
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     Chapman023244
14   Chapman023248
15   Chapman023285
     Chapman023289
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     Chapman023290
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     Chapman023292
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     Chapman023306
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     Chapman023310
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     Chapman023324
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     Chapman023326
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     Chapman023333
23   Chapman023343
     Chapman023344
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     Chapman023349
25   Chapman023352
     Chapman023383
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     Chapman023408
27   Chapman023421
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     Chapman023426
     Chapman023431
                                       NOTICE
                                         6
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 1   Chapman023434
     Chapman023527
 2   Chapman023532
 3   Chapman023534
     Chapman023539
 4   Chapman023542
 5   Chapman023549
     Chapman023550
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     Chapman023554
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 9   Chapman023556
     Chapman023568
10   Chapman023575
11   Chapman023582
     Chapman023584
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13   Chapman023631
     Chapman023638
14   Chapman023673
15   Chapman023674
     Chapman023740
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     Chapman023774
17   Chapman023777
     Chapman023819
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     Chapman023826
19   Chapman023833
     Chapman023839
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     Chapman023845
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     Chapman023858
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     Chapman023862
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     Chapman023875
25   Chapman023880
     Chapman023885
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     Chapman023893
27   Chapman023894
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     Chapman023898
     Chapman023899
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     Chapman023906
 2   Chapman023910
 3   Chapman023918
     Chapman023956
 4   Chapman023998
 5   Chapman024133
     Chapman024212
 6   Chapman024218
 7   Chapman024234
     Chapman024310
 8   Chapman024332
 9   Chapman024618
     Chapman024653
10   Chapman024697
11   Chapman024698
     Chapman024703
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     Chapman024725
14   Chapman024727
15   Chapman024730
     Chapman024732
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     Chapman024739
17   Chapman024746
     Chapman024752
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     Chapman024760
19   Chapman024762
     Chapman024776
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     Chapman024777
21   Chapman024778
     Chapman024780
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     Chapman024781
23   Chapman024788
     Chapman024789
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     Chapman024790
25   Chapman024791
     Chapman024792
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     Chapman024793
27   Chapman024794
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     Chapman024795
     Chapman024797
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 1   Chapman024800
     Chapman024802
 2   Chapman024803
 3   Chapman024866
     Chapman024874
 4   Chapman024876
 5   Chapman024883
     Chapman024884
 6   Chapman024885
 7   Chapman024886
     Chapman024887
 8   Chapman024888
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     Chapman024893
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     Chapman024899
12   Chapman024905
13   Chapman024906
     Chapman024931
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15   Chapman024948
     Chapman024950
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     Chapman025028
17   Chapman025031
     Chapman025033
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     Chapman025035
19   Chapman025108
     Chapman025111
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     Chapman025165
21   Chapman025167
     Chapman025170
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     Chapman025220
23   Chapman025225
     Chapman025438
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     Chapman025442
25   Chapman025553
     Chapman025558
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     Chapman025877
27   Chapman025888
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     Chapman025900
     Chapman025905
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 1    Chapman025908
      Chapman026072
 2    Chapman026075
 3    Chapman026091
      Chapman026385
 4    Chapman026452
 5    Chapman026757
      Chapman026789
 6    Chapman026790
 7    Chapman026791
      Chapman026793
 8    Chapman026836
 9    Chapman026869
      Chapman026874
10    Chapman026884
11    Chapman026885
      Chapman026903
12    Chapman026904
13    Chapman026910
      Chapman027936
14    Chapman027939
15    Chapman027941
      Chapman027952
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      Chapman028045
17    Chapman028060
      Chapman028064
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      Chapman028070
19    Chapman028071
      Chapman028074
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      Chapman028075
21    Chapman028078
      Chapman028104
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      Chapman028148
23    Chapman028154
      Chapman028168
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      Chapman028376
25    Chapman028399
      Chapman028426
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      Chapman028479
27    Chapman028487
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      Chapman028530
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 1    Chapman028853
      Chapman028952
 2    Chapman029007
 3    Chapman029159
      Chapman029162
 4    Chapman029233
 5    Chapman029273
      Chapman029322
 6    Chapman029352
 7    Chapman029397
      Chapman029417
 8    Chapman029420
 9    Chapman029444
      Chapman029457
10    Chapman029560
11    Chapman029734
      Chapman029783
12    Chapman029791
13    Chapman030012
      Chapman030013
14    Chapman030015
15    Chapman030032
      Chapman030038
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      Chapman030039
17    Chapman030040
      Chapman030041
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      Chapman030048
19    Chapman030052
      Chapman030111
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      Chapman030118
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      Chapman030175
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      Chapman030176
23    Chapman030666
      Chapman030669
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      Chapman031059
25    Chapman031209
      Chapman031213
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      Chapman031471
27    Chapman031537
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      Chapman031598
      Chapman031602
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      Chapman031634
 2    Chapman031635
 3    Chapman031640
      Chapman032015
 4    Chapman032021
 5    Chapman032071
      Chapman032072
 6    Chapman032079
 7    Chapman032106
      Chapman033360
 8    Chapman038210
 9    Chapman043503
      Chapman045886
10    Chapman046154
11    Chapman046183
      Chapman046474
12    Chapman047297
13    Chapman047433
      Chapman047436
14    Chapman048373
15    Chapman048793
      Chapman049452
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      Chapman049527
17    Chapman049528
      Chapman049668
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      Chapman050327
19    Chapman051017
      Chapman051059
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      Chapman051290
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      Chapman051408
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      Chapman051450
27    Chapman051759
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      Chapman052452
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 1    Chapman052946
      Chapman052958
 2    Chapman053065
 3    Chapman053452
      Chapman053453
 4    Chapman053460
 5    Chapman053475
      Chapman053537
 6    Chapman053565
 7    Chapman053826
      Chapman055012
 8    Chapman055029
 9    Chapman055039
      Chapman055050
10    Chapman055112
11    Chapman055127
      Chapman055141
12    Chapman055152
13    Chapman055271
      Chapman055337
14    Chapman055453
15    Chapman055457
      Chapman055486
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      Chapman055518
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      Chapman055569
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      Chapman056070
19    Chapman056115
      Chapman056667
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      Chapman056671
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      Chapman056678
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      Chapman056679
23    Chapman056686
      Chapman056980
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      Chapman057425
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      Chapman057790
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      Chapman057798
      Chapman057807
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 1    Chapman057809
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 2    Chapman057872
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      Chapman057886
 4    Chapman057889
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      Chapman059448
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      Chapman059498
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      Chapman059651
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      Chapman059685
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      Chapman059799
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      Chapman059855
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      Chapman059895
25    Chapman059902
      Chapman059916
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      Chapman059924
27    Chapman059931
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      Chapman059946
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 1    Chapman059970
      Chapman059978
 2    Chapman059987
 3    Chapman060033
      Chapman060070
 4    Chapman060097
 5    Chapman060106
      Chapman060113
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      Chapman060185
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      Chapman060188
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      Chapman060201
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      Chapman060210
19    Chapman060230
      Chapman060353
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      Chapman060362
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      Chapman060456
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      Chapman060465
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      Chapman060526
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      Chapman060528
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      Chapman060578
      Chapman060587
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 1    Chapman060648
      Chapman060748
 2    Chapman060758
 3    Chapman060798
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 4    Chapman060812
 5    Chapman060832
      Chapman060862
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 8    Chapman061035
 9    Chapman061068
      Chapman061078
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      Chapman061146
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      Chapman061371
19    Chapman061373
      Chapman061397
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      Chapman061424
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      Chapman061452
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      Chapman061543
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      Chapman061563
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 1    Chapman061580
      Chapman061666
 2    Chapman061668
 3    Chapman061681
      Chapman061695
 4    Chapman061697
 5    Chapman061701
      Chapman061724
 6    Chapman061763
 7    Chapman061764
      Chapman061767
 8    Chapman061768
 9    Chapman061862
      Chapman061868
10    Chapman061904
11    Chapman061905
      Chapman062242
12    Chapman062641
13    Chapman062657
      Chapman062674
14    Chapman062675
15    Chapman062698
      Chapman062706
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      Chapman062749
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      Chapman062778
19    Chapman062841
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      Chapman062844
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      Chapman062940
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      Chapman062944
27    Chapman062948
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      Chapman062951
      Chapman062955
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 1    Chapman062958
      Chapman062984
 2    Chapman062987
 3    Chapman062996
      Chapman063000
 4    Chapman063054
 5    Chapman063058
      Chapman063081
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      Chapman063095
 8    Chapman063103
 9    Chapman063114
      Chapman063119
10    Chapman063125
11    Chapman063131
      Chapman063139
12    Chapman063146
13    Chapman063154
      Chapman063194
14    Chapman063407
15    Chapman063416
      Chapman063425
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      Chapman063438
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      Chapman063479
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      Chapman063503
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      Chapman063717
25    Chapman063919
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      Chapman063973
27    Chapman063974
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      Chapman063977
      Chapman064103
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 1    Chapman064106
      Chapman064108
 2    Chapman064124
 3    Chapman064128
      Chapman064133
 4    Chapman064305
 5    Chapman064331
      Chapman064715
 6    Chapman064995
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 9                                         /s/ Douglas N. Letter
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12                                           Principal Deputy General Counsel
                                           ERIC R. COLUMBUS
13                                           Special Litigation Counsel
14                                         MICHELLE S. KALLEN
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     Case 8:22-cv-00099-DOC-DFM Document 339 Filed 05/09/22 Page 20 of 21 Page ID
                                      #:4856


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     Dated: May 9, 2022
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                                         NOTICE
                                           20
     Case 8:22-cv-00099-DOC-DFM Document 339 Filed 05/09/22 Page 21 of 21 Page ID
                                      #:4857


 1                              CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
 5         OFFICE OF GENERAL COUNSEL
           U.S. HOUSE OF REPRESENTATIVES
 6         5140 O’Neill House Office Building
 7
           Washington, D.C. 20515

 8         On May 9, 2022, I served the NOTICE on the interested parties in this action:
 9         Anthony T. Caso
10         Constitutional Counsel Group
           174 W Lincoln Ave #620
11         Anaheim, CA 92805-2901
12         atcaso@ccg1776.com
13
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17
           Attorneys for Plaintiff John C. Eastman
18
19        (BY E-MAIL OR ELECTRONIC TRANSMISSION)
            The document was served on the following via The United States District Court –
20          Central District’s CM/ECF electronic transfer system which generates a Notice
21
            of Electronic Filing upon the parties, the assigned judge, and any registered user
            in the case:
22
23        (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                    correct, and that I am employed at the office of a member of
24                  the bar of this Court at whose direction the service was made.
25
           Executed on May 9, 2022 here, at Bethesda, Maryland.
26
27                                                   /s/ Douglas N. Letter
28

                                    CERTIFICATE OF SERVICE
